          Case 3:23-cv-04146-VC Document 51 Filed 01/22/24 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                              SAN FRANCISCO DIVISION

RACHELLE COLVIN, individually and as
                                 )
next friend of minor Plaintiff, G.D., and
                                 )                 Case No. 3:23-cv-04146-VC
DANIELLE SASS, individually and as next
                                 )
friend of minor plaintiff, L.C., and on behalf
                                 )
                                                   [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION
of all others similarly situated,)
                                                   TO SERVE PURSUANT TO RULE 4(F)(3) OF THE
                                 )                 FEDERAL RULES OF CIVIL PROCEDURE
     Plaintiff(s),               )
                                 )                 Judge: Hon. Vince Chhabria
     v.                          )                 Date Action Filed: August 15, 2023
                                 )
ROBLOX CORPORATION, SATOZUKI     )
LIMITED B.V., STUDS              )
ENTERTAINMENT LTD., and RBLXWILD )
ENTERTAINMENT LLC,
                                 )
                                 )
     Defendant(s).
                                 )

       IT IS HEREBY ORDERED, pursuant to Fed. R. Civ. P. 4(f)(3), that APS International,

Ltd., including its designated agents, is appointed and authorized to effect service of process on

the defendant, Satozuki Limited B.V., and its “local representative” and “proxy holder,” Dutch

Antilles Management N.V., in Curacao. APS International Limited shall be permitted to effect

personal service in a manner reasonably calculated to give notice and comporting with

constitutional norms of due process.

       IT IS SO ORDERED.


        January 22, 2024
Dated: ____________________                          ______________________________
                                                     The Honorable Vince Chhabria
